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                                                        U.S. Department of Justice

                                                        CHANNING D. PHILLIPS
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      May 18, 2021
VIA EMAIL

Lawrence Wolf Levin
Law Office of Lawrence Wolf Levin


       Re:     United States v. Lyons
               Case No. 21-cr-79-BAH
               Discovery Letter No. 2

Dear Mr. Levin:

       This is to memorialize the following supplemental discovery sent you via email on May
18, 2021 via USAFX, containing the following materials:

       Serial 17_1A_08_01 and 02 SENSITIVE: Recognition reports
       Serial 20 SENSITIVE: Opening document
       Serial 22, Serial 22 Import, and 22_1A_0615_11 SENSITIVE: Tipster report
       Serial 26 SENSITIVE and 26_1A_1943_01 SENSITIVE: Tipster report
       Serial 30: Database search
       Serial 31: Video identification of E. S.
       Serial 32 and 32_1A_18_01 SENSITIVE: Tipster report and notes
       Serial 33 and 33_1A_12_01 to 04: Instagram search warrant and return

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.
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       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Monica A. Stump
                                                      Monica A. Stump
                                                      Assistant United States Attorney



Enclosure(s)




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